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COUNSEL FOR HIGHLAND CAPITAL MANAGEMENT
FUND ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.

                           UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                            §
                                                   §
                                                                        Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                      §
 L.P.                                              §
                                                                 Case No. 19-34054-sgj11
                                                   §
          Debtor.                                  §
                                                   §
 HIGHLAND CAPITAL MANAGEMENT,                      §
 L.P.,                                             §
                                                   §
          Plaintiff,                               §
                                                   §
 v.                                                §              Adv. No. 21-03010-sgj
                                                   §
 HIGHLAND CAPITAL MANAGEMENT                       §
 FUND ADVISORS, L.P. and NEXPOINT                  §
 ADVISORS, L.P.,                                   §
                                                   §
          Defendants.                              §

                ADVISORS’ OBJECTIONS TO DEBTOR’S TRIAL EXHIBITS

TO THE HONORABLE STACEY G.C. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          COME NOW NexPoint Advisors, L.P. and Highland Capital Management Fund Advisors,

L.P. (together, the “Advisors”), the defendants in the above styled and numbered Adversary

Proceeding, and file this their Objections to Debtor’s Trial Exhibits, respectfully stating as follows:




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      The Advisors hereby object to the following exhibits identified by Highland Capital

Management, L.P.:

 Exhibit    Objection Basis
 10         Completeness; Hearsay
 15         Hearsay
 16         Completeness
 19         Hearsay
 21         Hearsay
 23         Hearsay
 24         Hearsay
 25         Hearsay
 31         Hearsay; Authentication
 32         Hearsay; Authentication
 34         Hearsay
 35         Hearsay
 36         Hearsay; Authentication
 37         Hearsay; Authentication
 38         Hearsay; Authentication
 39         Hearsay; Authentication
 40         Hearsay; Authentication
 41         Hearsay
 48         Hearsay
 49         Hearsay
 57         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 58         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 59         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 60         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 61         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 62         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 63         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 64         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors
 65         Completeness; Hearsay to extent it contains statements of or related to persons or
            parties other than the Advisors



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 66          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 67          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 68          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 69          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 70          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 71          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 72          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 73          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 74          Completeness; Hearsay to extent it contains statements of or related to persons or
             parties other than the Advisors
 75          Authentication; Hearsay
 76          Authentication; Hearsay; Best Evidence
 82          Hearsay
 83          Hearsay
 84          Completeness
 85          Hearsay
 86          Hearsay; Best Evidence
 87          Hearsay
 128         Hearsay
 129         Hearsay
 142         Hearsay; Best Evidence
 143         Hearsay; Best Evidence
 149         Hearsay
 150         Hearsay; Authentication, Best Evidence
 151         Hearsay
 152         Hearsay

Respectfully submitted this 5th day of April, 2022.




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                                             MUNSCH HARDT KOPF & HARR, P.C.

                                             By: /s/ Thomas Berghman
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                                             ATTORNEYS FOR NEXPOINT ADVISORS,
                                             L.P. AND HIGHLAND CAPITAL
                                             MANAGEMENT FUND ADVISORS, L.P.



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 5th day of April, 2022, he caused a true
and correct copy of the foregoing document to be served by e-mail on John Morris, Esq, counsel
of record, at jmorris@pszjlaw.com via the Court’s ECF notification system.


                                             /s/ Thomas Berghman
                                             Thomas D. Berghman, Esq.




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